Case 1:02-cr-00024-MW-GRJ         Document 402         Filed 08/24/06   Page 1 of 2




                                                                            Page 1 of 2


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                            CASE NO.: 1:02-CR-024-SPM

BRIAN TAYLOR,

           Defendant.
______________________________/

                 ORDER CONTINUING VIOLATION HEARING

      THIS CAUSE comes before the Court upon “Defendant’s Unopposed

Motion to Continue Revocation Hearing” (doc. 401) filed August 22, 2006, in

which defense counsel requests to postpone the hearing until October 6, 2006,

the next court date on the underlying state charges.

      The motion is unopposed by the Government. For good cause shown, it

is

      ORDERED AND ADJUDGED as follows:

      1.     Defendant’s Motion to Continue (doc. 401) is hereby granted.

      2.     The hearing is reset for Monday, November 6, 2006 at 1:30pm
Case 1:02-cr-00024-MW-GRJ      Document 402      Filed 08/24/06       Page 2 of 2




                                                                          Page 2 of 2


           at the United States Courthouse in Gainesville, Florida.

     DONE AND ORDERED this twenty-fourth day of August, 2006.


                                  s/ Stephan P. Mickle
                               Stephan P. Mickle
                               United States District Judge
